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IN THE UNITED srA'rEs DIs'rRICT CoURT F"£D B"t’ `l D-C»
FoR THE WESTERN DISTRICT oF rENNEssEE '
WEsTERN DivlsroN 95 APR 23 PH h= 914
DANNYEVANS=
W. - ?-' l'l`\|, E'EEI\AFH|S
Plaintiff,
"- No. 04-2790 B
GRiNDER & HAISLIP
CONSTRUCTION,
Defendant.

 

ORDER DENYING DEFENDANT‘S MOTION TO DISMISS
AND DIRECTING PLAINTIFF TO EFFECT PROPER SERVICE

 

Before the Court is the motion of the Defendant, Grinder & Haislip Construction ("Grinder"),
to dismiss the Plaintiff's complaint for insufficient service, pursuant to Rules lZ(b)(4) and lZ(b)(S)
of the F ederal Rules of Civil Procedure or, in the alternative, to quash service. This action Was filed
by the pro g Plaintiff, Danny L. Evans, on October 4, 2004 alleging violation of Title VII of the
Civil Rights Act of 1964, 42 U.S.C. § 20006, §_t gm In an order entered January 27, 2005 , the Court
instructed the Plaintiff to effect service on Grinder, stating that "[t]he plaintiff is responsible for
ensuring that service is effected on the defendant pursuant to Fed. R. Civ. P. 4(h)(l). Along With the
summons and complaint, service on the [defendant] shall include a copy of this order." (Order
Correcting the Docket and Order to Issue Service of Process at 2.) The Plaintiff Was further
instructed to "familiarize himself with the F ederal Rules ofCivil Procedure and the local rules of this
Court." (Order Correcting the Docket and Order to Issue Service of Process at 2.) He Was
admonished that "[f]ailure to comply With these requirements . . . may result in this case being

dismissed Without further notice." (Order Correcting the Docket and Order to Issue Service of

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with Flu!e 58 and/or 79(3} FRCP on

 

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Process at 3.)

In the instant motion, filed on March 23, 2005, the Defendant avers that, on or about
February 4, 2005, David Scott, a project superintendent for the Defendant, received by regular mail
a cover letter, a summons and a copy of the Court's January 27, 2005 order. Scott states in his
affidavit, attached as an exhibit to the motion, that he is not an officer, managing agent, general
agent, or registered agent for Grinder. §e_e Aff. of David Scott at 1l 4.

Ru]e 4(h)(l) requires that service on a corporation be made "by delivering a copy of the
summons and of the complaint to an officer, a managing or general agent, or to any other agent
authorized by appointment or by law to receive service of process . . .“ Fed. R. Civ. P. 4(h)(]).
Alternatively, the corporation may be served "in the manner prescribed for individuals by
subdivision (e)(l)" of the Rule. §e_e Fed. R. Civ. P. 4(h)(l). Subsection (e)(l) provides for service
“pursuant to the law of the state in Which the district court is located, or in which service is effected,
for the service of a summons upon the defendant in an action brought in the courts of general
jurisdiction of the State." Fed. R. Civ. P. 4(e)(l). The Tennessee Rules of`Civil Procedure require
that service by mail be by "registered return receipt or certified return receipt mail" on the defendant
Tenn. R. Civ. P. 4.04(10).

Based on the evidence before it, the Defendant's motion is DENIED. However, the Plaintiff,
Who failed to respond to the motion, is hereby DIRECTED to effect proper service upon the
Defendant, in accordance With the Federal Rules of Civil Procedure, Within 30 days of the entry of
this order. The Plaintiff is further advised that failure to comply With this order may result in

dismissal of his complaint

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iris so oRDERED this 23 day oprril, 2005.

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J. A IEL BREEN \
rr D sTArEs nisTRiCT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
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Honorable J. Breen
US DISTRICT COURT

